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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                     CENTRAL DIVISION at LEXINGTON

IN RE CLASSICSTAR MARE LEASE   )
LITIGATION                     )                     MDL No. 1877
                               )
and                            )                   Master File:
                               )           Civil Action No. 07-353-JMH
WEST HILLS FARMS, LLC, et al., )
                               )
     Plaintiffs,               )
                               )
v.                             )
                               )
CLASSICSTAR, LLC, et al.,      )           Civil Action No. 06-243-JMH
                               )
     Defendants.               )          MEMORANDUM OPINION AND ORDER


                                *** *** ***

      This matter is before the Court upon Plaintiff’s Motion for

Relief Pursuant to Fed. R. Civ. P. 60(a) [DE 761], in which they

ask the Court to correct a clerical error in the Judgment [DE 760]

entered on October 11, 2011, to make the judgment consistent with

the Court’s Memorandum Opinion and Order of September 30, 2011 [DE

757].   The time for filing objections to Plaintiffs’ motion has

expired, and no objections have been heard.           This matter is before

the   Court,   as   well,   upon    its   own   motion    to   reconsider   its

Memorandum Opinion and Order of September 30, 2011, in order to

articulate the rationale for its decision with respect to the

matter of whether there is liability for common law fraud and the

amount of damages available to Plaintiffs from Defendant Strategic

Opportunity    Solutions,     LLC    d/b/a      Buffalo   Ranch   (“Strategic

Opportunity Solutions”) with respect to Count II of the Fourth
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Amended Complaint.

      As articulated in its decision of September 30, 2011, in the

Commonwealth of Kentucky, “[a] party claiming harm from fraud must

establish six elements of fraud by clear and convincing evidence as

follows: a) material representation b) which is false c) known to

be false or made recklessly d) made with inducement to be acted

upon e) acted in reliance thereon and f) causing injury.”              United

Parcel Service Co. v. Rickert, 996 S.W.2d 464, 468 (Ky. 1999)

(fraud through direct misrepresentation); Smith v. General Motors

Corp., 979 S.W.2d 128, 130 (Ky. Ct. App. 1998) (failure to disclose

may be actionable where one party to a contract has superior

information and is relied upon to disclose same when it fails to do

so or where reliance is based on only a partial disclosure);

Raymond-Elderedge Co., Inc. v. Security Realty Inv. Co., 91 F.2d

168, 173 (6th Cir. 1937) (one who clothes another with the power to

commit fraud and then remains silent may be liable); Lappas v.

Barker, 375 S.W.2d 248, 272 (Ky. 1963) (one who aids and abets

fraud by a fiduciary becomes jointly liable); Kirby v. Firth, 311

S.W.2d 799, 802 (1958) (one who accepts proceeds of agents’ fraud

with knowledge ratifies that fraud and becomes liable because,

“[t]hough innocent himself at the time of the misrepresentation,

one may not accept the fruits of a business deal and at the same

time disclaim responsibility for the measures by which they were

acquired.”).


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       The     Court     has     already       determined         that        actionable

misrepresentations were made to Plaintiffs with respect to their

investments in the ClassicStar Mare Lease Program, attributable to

Defendants     Tony    Ferguson,      Thom   Robinson,       John   Parrott,       David

Plummer,     Spencer     Plummer,     ClassicStar         2004,   LLC,    ClassicStar

Farms, Inc., and GeoStar Corporation or their agents. The question

now is whether any of the material misrepresentations made and the

harm    that   flowed    from    them    can    be    attributed         to    Strategic

Opportunity Solutions, and the Court builds on its September 30,

2011, Memorandum Opinion and Order in concluding that they can be

so attributed.

       Plaintiffs      argue   that   Strategic       Opportunity        Solutions      is

liable for      the    harm    occasioned     by   the fraudulent             scheme   and

misrepresentations because it, by and through its principal, David

Plummer, entered into quarter horse “leases” for 2002, 2003, and

2004, which were used to disguise the lack of thoroughbred mares in

the Mare Lease Programs. Ultimately, the undisputed evidence shows

that Plummer “loaned” quarter horses to ClassicStar and that the

quarter horses were never intended for breeding in the Mare Lease

Program. [See DE 757 at p. 7.] Rather, those “performance horses”,

i.e.,    not    thoroughbreds,        served       only     as    placeholders         for

ClassicStar Mare Lease participants.                 It was only after the fact

that ClassicStar and Strategic Opportunity Solutions entered into




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backdated “Mare Lease and Breeding Agreements.”1

      Ultimately, Strategic Opportunity Solutions agreed to lease

the warm bodies of its performance horses to cover up the most

basic element of the fraud at bar in this case – the lack of

adequate breeding stock in the Mare Lease Programs to provide the

opportunity     upon   which    Plaintiffs’      investments     were   made.

Strategic Opportunity Solutions’ principal, David Plummer, knew

that the Mare Lease Programs were underpopulated with thoroughbred

breeding pairings when he decided to commit Strategic Opportunity

Solutions to its agreement with ClassicStar. He also knew that, in

his role with ClassicStar, he would use those performance horses as

nothing more than “placeholders” on breeding schedules for Mare

Lease Program Investors until those investors could be moved on to

other investments.

      Here, there is no doubt that Strategic Opportunity Solutions

aided and abetted fraud by ClassicStar and the others.              Strategic



      1
        While the three agreements were ostensibly entered into in
September 2003, December 2003, and November 2004, respectively, it
appears that they were actually drafted some time later, in
December 2004, since David Plummer, Spencer Plummer, Tony Ferguson,
and Terry Green were exchanging emails about the drafts as late as
December 1, 2004, in which it was explained that everyone
understood that the mares and foals were to be returned to
Strategic Opportunity Solutions in lieu of any payment from
ClassicStar — any agreement to the contrary notwithstanding. It
would be only another year before GeoStar would void those leases,
when they and the ClassicStar entities parted ways with the
Plummers, meaning that no Mare Lease Program investor could ever
hope to benefit from those leased performance horse breeding
opportunities under the terms of the written agreement.

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Opportunity Solutions knew, by and through David Plummer, what

fraud was afoot and gave its blessing and its horses to that cause

without telling anyone, least of all Plaintiffs, about the ruse.

It intended for Plaintiffs to rely upon the misrepresentations

about    the    breeding          pairings    available      to    Mare      Lease   Program

participants to their detriment, and they did – investing enormous

sums of money in the program and trading out those opportunities

for others when encouraged to do so, under the mistaken belief that

their investment in the Mare Lease Programs was worth what they had

invested.

      Although the Court declined to address the measure of damages

for Plaintiffs’ common law fraud claims further in its earlier

order,    it        must   reach     this    issue    with     respect         to   Strategic

Opportunity Solutions’ liability to Plaintiffs solely with respect

to common law fraud.                In the Commonwealth of Kentucky, “[t]he

measure of damages for fraud is, as a general rule, the actual

pecuniary       loss       sustained.”         Sanford     Const.        Co.    v.    S   &    H

Contractors, Inc., 443 S.W.2d 227, 239 (Ky. 1969) (quoting 37

Am.Jur.2d 458, Fraud and Deceit, section 342; citing Campbell v.

Hillman,       15    B.Mon.(Ky.)       508    (1854)).         Thus,     a     plaintiff      is

“entitled      to     recover      such     damages   in   a      tort    action     as   will

compensate him for the loss or injury actually sustained and place

him in the same position that he would have occupied had he not

been defrauded.”            Id.


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      This mirrors the amount of damages available to Plaintiffs for

the harm occasioned by the predicate acts of the defendants liable

under RICO. Fleischhauer v. Feltner, 879 F.2d 1290, 1299 (6th Cir.

1989) (defining damages in context of civil RICO claim) (citing

Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 497 (1985)); see also

Waters v. Int’l Precious Metals Corp., 172 F.R.D. 479, 506 (S.D.

Fla. 1996) (holding that, with respect to the calculation of

damages caused by RICO violations where an investment scheme is the

source of the harm, the “appropriate measure is the total amount of

Plaintiff’s out of pocket capital invested which they would not

have invested but for the Alleged Scheme”).             Had Plaintiffs not

been defrauded by these defendants, including Strategic Opportunity

Solutions, they would not have experienced the harm occasioned as

a result of the fraud – the money invested in the Mare Lease

Programs. As articulated in the Court’s earlier Memorandum Opinion

and Order, the out-of-pocket losses for Plaintiffs as a result of

their investment in the Mare Lease Program total $16,468,603.87.

This amount also represents the damage done to Plaintiffs by virtue

of Strategic Opportunity Solutions’ fraud.

      Accordingly, IT IS ORDERED:

      (1)   that Plaintiff’s Motion for Relief Pursuant to Fed. R.

Civ. P. 60(a) is GRANTED;

      (2)   that   the   judgment   entered    on   October   11,   2011,   is

STRICKEN AND HELD FOR NAUGHT;


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      (3)    that a separate order of judgment shall issue.

      This the 8th day of November, 2011.




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